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                  IN THE UNITED STATES DISTRICT COURT FOR THE
                         SOUTHERN DISTRICT OF FLORIDA
                           FORT LAUDERDALE DIVISION

  LORINZO LOVELY,

          Plaintiff,                                  Civil Action No.:
  vs.

  ANDREU, PALMA, LAVIN & SOLIS,
  PLLC,

          Defendant.



                                     NOTICE OF REMOVAL

        PLEASE TAKE NOTICE on this date, Defendant Andreu, Palma, Lavin & Solis, PLLC,

 by and through its undersigned counsel, hereby removes the above-captioned matter to the United

 States District Court for the Southern District of Florida, Fort Lauderdale Division, from the

 Circuit Court of the Seventeenth Judicial Circuit in and for Broward County, Florida, and in

 support thereof avers as follows:

        1.      Defendant Andreu, Palma, Lavin & Solis, PLLC is a defendant in a civil action

 originally filed on or about August 9, 2021 in the Circuit Court of the Seventeenth Judicial Circuit

 in and for Broward County, Florida, titled Lorinzo Lovely v. Andreu, Palma, Lavin & Solis, PLLC

 and docket as Case No. COCE-21-043994.

        2.      This removal is timely under 28 U.S.C. § 1446(b) as APLS was served with original

 process on August 17, 2021

        3.      Pursuant to 28 U.S.C. § 1446, attached hereto are copies of all process, pleadings,

 and orders received by APLS in the state court action.

        4.      The United States District Court for the Southern District of Florida, Fort

 Lauderdale Division, has jurisdiction over this class action pursuant to 28 U.S.C. § 1331, in that

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 Plaintiff filed claims against Defendant alleging violations of the Fair Debt Collection Practices

 Act, 15 U.S.C. § 1692, et seq.

        5.      On this date, Defendant provided notice of this Removal to counsel for Plaintiff

 and to the Circuit Court of the Seventeenth Judicial Circuit in and for Broward County, Florida.

        WHEREFORE, Defendant respectfully removes this case to the United States District

 Court for the Southern District of Florida, Fort Lauderdale Division.



 Dated: August 18, 2021                              Respectfully Submitted,


                                                     MESSER STRICKLER, LTD.
                                                       /s/ John M. Marees II
                                                       JOHN M. MAREES II
                                                       FL Bar No. 0120079
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                                                       jmarees@messerstrickler.com

                                                       Counsel for Defendant




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                                         CERTIFICATE OF SERVICE

           I hereby certify that on August 18, 2021 I caused to be electronically filed the foregoing with the Clerk

 of the District Court using the CM/ECF system, which will send notification of such filing to the attorneys of

 record.

                                                               MESSER STRICKLER, LTD.


                                                               /s/ John M. Marees II
                                                               JOHN M. MAREES II
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                                                               Counsel for Defendant




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